JS 44 (Rev. 10/20) Case 3:21-cv-11758-FLW-LHG Document
                                           CIVIL COVER 1 SHEET
                                                         Filed 05/26/21 Page 1 of 25 PageID: 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS

    George Levy                                                                                                 AT&T Services, Inc.
    (b)   County of Residence of First Listed Plaintiff                 Monmouth County                         County of Residence of First Listed Defendant              Dallas, TX
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

 (c) Attorneys (Firm Name, Address, and Telephone Number)                                                        Attorneys (If Known)
Daniel S. Orlow, Esq.; Console Mattiacci Law, LLC
110 Marter Ave., Suite 502; Moorestown, NJ 08057
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                       3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                 (U.S. Government Not a Party)                      Citizen of This State          X1           1      Incorporated or Principal Place         4     4
                                                                                                                                                            of Business In This State

    2   U.S. Government                  ✖    4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5    ✖    5
          Defendant                                 (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                       Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                         Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                          Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                     TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                            PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                               310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                           315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                     Liability                  367 Health Care/                                                                                    400 State Reapportionment
    150 Recovery of Overpayment              320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment                 Slander                        Personal Injury                                                820 Copyrights                   430 Banks and Banking
    151 Medicare Act                         330 Federal Employers’              Product Liability                                              830 Patent                       450 Commerce
    152 Recovery of Defaulted                     Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated         460 Deportation
         Student Loans                       340 Marine                          Injury Product                                                     New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)                 345 Marine Product                  Liability                                                      840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment                   Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits                350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits                  355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
    190 Other Contract                           Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability           360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                                Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                             362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                                 Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                          CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                    440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                          441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment       ✖       442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                        443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
    245 Tort Product Liability                   Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property              445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                                 Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                             446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                                 Other                       550 Civil Rights                 Actions                                                                State Statutes
                                             448 Education                   555 Prison Condition
                                                                             560 Civil Detainee -
                                                                                 Conditions of
                                                                                 Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                          3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                  Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                   (specify)                 Transfer                          Direct File
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              29 U.S.C. § 621, et seq
VI. CAUSE OF ACTION                           Brief description of cause:
                                               Plaintiff was discriminated against because of his age.
VII. REQUESTED IN                                  CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                    UNDER RULE 23, F.R.Cv.P.                            in excess of $75,000                           JURY DEMAND:                X   Yes           No
VIII. RELATED CASE(S)
                                                  (See instructions):
      IF ANY                                                               JUDGE                                                               DOCKET NUMBER
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
        05/26/2021
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                         APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
________________________________
                                   :
GEORGE LEVY                        :
Aberdeen, NJ                       :
                                   :    Civil Action No. _____
                  Plaintiff,       :
                                   :
             v.                    :
                                   :    JURY TRIAL DEMANDED
                                   :
AT&T SERVICES, INC.                :
208 S. Akard St.                   :
Dallas, TX 75202.                  :
                                   :
                  Defendant.       :
________________________________   :

                                 CIVIL ACTION COMPLAINT

I.     PRELIMINARY STATEMENT

       Plaintiff, George Levy, was an outstanding employee of AT&T for more than 21 years.

On July 10, 2020, at age 63, Plaintiff was placed on “surplus” status and was told he would be

terminated if he did not find another job in the company within two weeks. Prior to his surplus

notification, in February 2020, Plaintiff’s direct supervisor had asked him how old he was.

Thereafter, in March 2020 and early July 2020, Plaintiff was charged with training substantially

younger employees to perform portions of his job duties. Following his surplus notification on

July 10, 2020 Plaintiff was not offered or selected for any internal positions and was terminated

on July 24, 2020. Defendant retained several substantially younger and less qualified employees

in Plaintiff’s position and organization.

       AT&T discriminated against Plaintiff because of his age. Plaintiff now brings this

employment discrimination action for violations of the Age Discrimination in Employment Act,
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29 U.S.C. § 621, et seq. (“ADEA”) and the New Jersey Law Against Discrimination, N.J.S.A.

10:5-1, et seq. (“NJLAD”).

II.    PARTIES

       1.      Plaintiff, George Levy, is an individual and citizen of the state of New Jersey,

residing therein in Aberdeen, New Jersey, 07747.

       2.      Plaintiff was born on May 9, 1957.

       3.      Defendant AT&T Services, Inc. is incorporated in the State of Delaware and is duly

registered to transact business in the state of New Jersey, with a registered agent located in New

Jersey for service of legal process. It maintains several places of business located throughout the

state of New Jersey, maintains systematic and continuous activity such that it is at home in New

Jersey, and has employed many people in the state of New Jersey, including Plaintiff.

       4.      AT&T Services, Inc. is subject to the personal jurisdiction of this Court because,

without limitation, this case arises out of or relates to the contacts of AT&T Services, Inc. with the

state of New Jersey, the contacts of AT&T, Services, Inc. are continuous and systematic such that

AT&T Services, Inc. is “at home” here, and/or AT&T Services, Inc. has consented to personal

jurisdiction by personal service within the State via an authorized agent of the corporation.

       5.      At all times material hereto, AT&T employed more than 20 people.

       6.      At all times material hereto, AT&T has been engaged in an industry affecting

interstate commerce and has acted as an “employer” within the meaning of the ADEA and NJLAD.

       7.      At all times material hereto, AT&T acted by and through its authorized agents,

servants, workmen, and/or employees within the course and scope of their employment with

AT&T and in furtherance of AT&T’s business.




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       8.      At all times material hereto, Plaintiff was an employee of AT&T within the

meaning of the ADEA and NJLAD.

III.   JURISDICTION AND VENUE

       9.      The causes of action set forth in this Complaint arise under the ADEA and the

NJLAD.

       10.     The District Court has jurisdiction over all Counts (ADEA and NJLAD) pursuant

to 28 U.S.C. § 1332 because the amount in controversy exceeds the sum or value of $75,000,

exclusive of interests and costs, and there exists complete diversity of citizenship, as Plaintiff is a

citizen of the state of New Jersey and Defendant is not a citizen of the state of New Jersey.

       11.     Venue is proper under 28 U.S.C. § 1391(b).

       12.     On or about August 17, 2020, Plaintiff filed a Charge of Discrimination with the

Equal Employment Opportunity Commission (“EEOC”), complaining of the acts of discrimination

alleged herein. Attached hereto, incorporated herein, and marked as Exhibit “A” is a true and

correct copy of the EEOC Charge of Discrimination (with minor redactions for purposes of

electronic filing of confidential/identifying information).

       13.     On or about March 3, 2021, the EEOC issued to Plaintiff a Dismissal and Notice of

Right to Sue for Plaintiff’s EEOC Charge. Attached hereto and marked as Exhibit “B” is a true

and correct copy of that Notice (with minor redactions for purposes of electronic filing of

confidential/identifying information).

       14.     Plaintiff has fully complied with all administrative prerequisites for the

commencement of this action.

IV.    FACTUAL ALLEGATIONS

       15.     Since at least March 1, 2013, and continuing until the present, AT&T has, as part



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of a pattern and practice of age discrimination, conducted vast involuntary terminations referred

to as “surplus” cases (such as the one giving rise to Plaintiff’s termination) with the intent and

effect of eliminating older workers from its workforce.

           16.      AT&T has intentionally conducted these surplus cases in waves so as to keep older

workers in the dark about the scope of its group terminations and selection procedures and has

engaged in a fraud whereby older workers are deceived as to the information they receive regarding

which employees are terminated and which employees are retained.

           17.      Plaintiff was hired by AT&T on November 16, 1998.

           18.      Plaintiff was a highly qualified and dedicated employee of AT&T for more than

twenty-one (21) years.

           19.      Plaintiff received annual merit increases, performance-based bonuses, and positive

annual performance reviews.

           20.      Plaintiff last held the position of Lead Channel Manager and last reported to Scott

Corbin II (451), Associate Director, Marketing Technology.

           21.      Plaintiff’s job duties consisted primarily of supporting the AT&T Public Sector

segment with federal, state, and local government and education market sensing, contract analysis,

and customer experience assessments. Plaintiff was also responsible for market analysis and the

reporting of channel marketing campaigns through the identification of data informed prospects,

funnel activity, and lead conversions to sales.

           22.      Plaintiff began reporting to Corbin in April 2020.

           23.      Corbin reported to Aarthi Reddy (48) Assistant Vice President of Market Research

and Analysis.



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    All ages herein are approximations as of the date on which Plaintiff was selected for Surplus.

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       24.     Reddy reported to Pam Abel, Vice President of Distribution, Compensation, and

Analytics.

       25.     Prior to reporting to Corbin, Plaintiff had reported to Reddy and Al Jones, Director.

       26.     In or about February 2020, Jones asked Plaintiff how old he was.

       27.     Plaintiff informed Jones that he was sixty-two (62).

       28.     In or about March 2020, Plaintiff was instructed to train younger employees,

including Edgar Reyes (35), Specialist Sales Support, and Mayra Ruiz (38), Specialist Sales

Support, on certain of his job duties and responsibilities.

       29.     After he started reporting to Corbin, Plaintiff was not given the support, training,

and resources that substantially younger employees were given to do the same job, despite his

workload having increased.

       30.     On or about July 1, 2020, Imshaan Somani (35), Lead Marketing Technology

Manager, was transferred to report to Corbin.

       31.     On July 7, 8, and 9, Corbin instructed Plaintiff to train Somani to perform his job

duties and responsibilities.

       32.     On July 10, 2020, AT&T notified Plaintiff that the position he held was being

eliminated and that he was being placed on “surplus” status.

       33.     At the time of Plaintiff’s surplus notification, he was age sixty-three (63) and was

the oldest employee reporting to Corbin.

       34.     According to Plaintiff’s surplus notification, he was to remain employed until July

24, 2020, at which time his employment would be terminated if he had not been selected by AT&T

for, and accepted, another position at AT&T.

       35.     Prior to Plaintiff’s surplus notification, AT&T employees had been told by Jeff



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McElfresh, CEO of AT&T Communications, that there would be a corporate downsizing and that

impacted employees should not bother looking for jobs internally.

       36.    Corbin told Plaintiff he did not know the reason why he was selected for surplus,

and that the decision had been made at a higher level at AT&T.

       37.    On July 10, 2020, along with Plaintiff’s surplus notification, AT&T presented to

Plaintiff a “General Release and Waiver” which, if signed, would have fraudulently purported to

release all claims against AT&T, including federal age discrimination claims with respect to

Plaintiff’s employment.

       38.    The General Release and Waiver was accompanied by an “ADEA Listing” dated

July 7, 2020 which, among other things, provided no information as to which employees were

actually being terminated by AT&T during the surplus case. Without limitation:

       a)     The General Release and Waiver and its accompanying materials purported to
              specify selection criteria, but in fact provided no meaningful information as to the
              criteria used for selecting employees for surplus notification. The General Release
              and Waiver and its accompanying materials stated the following with regard to the
              criteria used for selecting employees for surplus notification: “The considerations
              when designating eligible employees for company initiated involuntary termination
              and participation in the AT&T Inc. Severance Pay Plan include some or all of the
              following: business needs, criticality of skills, job performance, role elimination,
              geographic location, and/or employee preference for displacement (‘interest in
              leaving’).”

       b)     The General Release and Waiver and its accompanying materials provided no
              information explaining the specific reason(s) for Plaintiff’s selection for surplus
              notification.

       c)     The General Release and Waiver falsely stated that Plaintiff was provided with the
              ages and job titles of those designated to participate in the Severance Plan. In fact,
              as of that date, no one identified on the ADEA Listing was eligible for the
              Severance Plan.

       d)     The information provided in the “ADEA Listing” was for a “Decisional Unit”
              identified as:

              “The following positions in VP Pam Abel’s Sales Ops and Compensation

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               organization Director Sales Operations Sales Planning Manager II positions within
               AVP Aarthi Reddy and Sr. Sales Planning Mgr. Michael Mahan’s organizations L2
               positions that support sales compensation reporting processes within AVP Aarthi
               Reddy’s organization.”

               There was no information provided as to how this Decisional Unit was determined.

       39.     The General Release and Waiver and accompanying ADEA Listing failed to

provide the required disclosures for a knowing and voluntary waiver of claims under the Older

Worker’s Benefit Protection Act (“OWBPA”).

       40.     The General Release and Waiver and accompanying ADEA Listing was presented

with the intent of harming older workers and fraudulently obtaining a purported release of

Plaintiff’s rights and claims under the ADEA.

       41.     Within the “Decisional Unit” as defined on the ADEA Listing, there were five (5)

employees who held Lead Channel Manager positions.

       42.     Of the five (5) Lead Channel Manager positions in the Decisional Unit, two (2)

were selected for surplus. The other Lead Channel Manager employee selected for surplus along

with Plaintiff was Mary Orns, age thirty-two (32).

       43.     The ADEA Listing that Plaintiff received should have, but did not, show that Mary

Orns was actually transferred to another position, was not terminated, and was in fact retained by

AT&T following her surplus notification.

       44.     Of the three (3) other Lead Channel Manager positions in the Decisional Unit

besides Plaintiff and Orns, two of them were younger than age forty (40) (ages twenty-six (26) and

thirty-one (31)). These two Lead Channel Managers were not selected for surplus and were

retained by AT&T.

       45.     After July 10, 2020, AT&T did not select Plaintiff for any open and available

positions with AT&T for which he was qualified, and Plaintiff received no response to emails

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asking if there were any opportunities for him to rejoin the team.

       46.     On July 24, 2020, AT&T terminated Plaintiff’s employment.

       47.     Plaintiff was the oldest Lead Channel Manager employee in the Decisional Unit.

       48.     Plaintiff was the only Lead Channel Manager in the Decisional Unit who was

terminated effective July 24, 2020.

       49.     Plaintiff was one (1) of two (2) employees reporting to Corbin who was terminated.

       50.     The other employee reporting to Corbin who was placed on surplus and terminated

was Adrienne Bresnahan (60), Senior Data Analysis.

       51.     As of the termination of Plaintiff’s employment on July 24, 2020, Plaintiff was

instructed to consider signing the General Release and Waiver in exchange for a severance

payment.

       52.     Plaintiff refused to sign the General Release and Waiver.

       53.     AT&T replaced Plaintiff with Somani (35). Plaintiff was more qualified and

experienced to perform his job duties and responsibilities than Somani.

       54.     When Plaintiff was terminated, AT&T retained the following substantially younger

employees in positions reporting to Corbin for which Plaintiff was qualified:

       a)      Imshaan Somani (35), Lead Marketing Technology Manager.

       b)      Elaine Arundell (48), Principal, Business Management.

       c)      Mark Pursley (52), Lead Marketing Manager.

       55.     When Plaintiff was terminated, AT&T retained the following younger employees

reporting to Corbin in the Lead Channel Manager position:

       a)      Jay Miller (26).

       b)      Levry Severino (31).



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        c)      Mary Orns (32).

        d)      John Keeney (58).

        56.     Plaintiff’s age was a determinative and/or motivating factor in AT&T’s decision to

select him for surplus, to not offer him any open positions for which he was qualified, and to

terminate his employment.

        57.     As a direct result of AT&T’s discriminatory conduct, Plaintiff has in the past

incurred, and will in the future incur, economic losses, a loss of earnings and/or earnings capacity,

pain and suffering, loss of benefits, and other injuries, the full extent of which is not known at this

time.

                                         COUNT I
                                  VIOLATION OF THE ADEA

        58.     Plaintiff incorporates by reference the foregoing paragraphs of this Complaint, as

if fully set forth herein.

        59.     Defendant, AT&T Services, Inc., intentionally discriminated against Plaintiff

because of his age.

        60.     Defendant, AT&T Services, Inc., has violated the ADEA by committing the

foregoing acts of discrimination against Plaintiff, including selecting Plaintiff for surplus, failing

to select him for open positions for which he was qualified, and terminating his employment.

        61.     As a direct result of Defendant’s violation of the ADEA, Plaintiff has in the past

incurred, and will in the future incur, a loss of earnings and/or earnings capacity, loss of benefits,

and other injuries, the full extent of which is not known at this time.

        62.     Defendant’s acts of discrimination in violation of the ADEA were intentional and

willful under the circumstances and warrant the imposition of liquidated damages.




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        63.     As a direct and proximate result of Defendant’s violation of the ADEA, Plaintiff

has sustained the injuries, damages, and losses set forth herein.

        64.     Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendant’s discriminatory and unlawful acts unless and until the

Court grants the relief requested herein.

        65.     No previous application has been made for the relief requested herein.

                                        COUNT II
                                 VIOLATION OF THE NJLAD

        66.     Plaintiff incorporates by reference the foregoing paragraphs of this Complaint, as

if fully set forth herein.

        67.     Defendant, AT&T Services, Inc., intentionally discriminated against Plaintiff

because of his age.

        68.     Defendant, AT&T Services, Inc., has violated the NJLAD by committing the

foregoing acts of discrimination against Plaintiff, including selecting Plaintiff for surplus, failing

to select him for open positions for which he was qualified, and terminating his employment.

        69.     Defendant’s violations of the NJLAD were intentional and willful and warrant the

imposition of punitive damages.

        70.     Members of Defendant’s upper management had actual participation in, and/or

willful indifference to, Defendant’s discriminatory conduct described herein, and their conduct

warrants the imposition of punitive damages against Defendant.

        71.     As a direct and proximate result of Defendant’s discriminatory conduct, in violation

of the NJLAD, Plaintiff has sustained the injuries, damages, and losses set forth herein, and has

incurred attorney’s fees and costs.




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       72.     Plaintiff is now suffering and will continue to suffer irreparable injuries, including

monetary damages, past and future emotional upset, mental anguish, humiliation, loss of life’s

pleasures, and pain and suffering as a result of Defendant’s discriminatory conduct unless and until

the Court grants the relief requested herein.

       73.     No previous application has been made for the relief requested herein.

                                                RELIEF

       WHEREFORE, Plaintiff, George Levy, respectfully requests that this Court enter

judgment in favor of Plaintiff and against Defendant, AT&T Services, Inc.:

       a.      declaring the acts and practices complained of herein to be a violation of the ADEA;

       b.      declaring the acts and practices complained of herein to be a violation of the

               NJLAD;

       c.      entering judgment against Defendant and in favor of Plaintiff in an amount to be

               determined;

       d.      enjoining and restraining permanently the violations alleged herein;

       e.      awarding compensatory damages to Plaintiff to make Plaintiff whole for all past

               and future lost earnings, benefits, and earnings capacity which Plaintiff has suffered

               and will continue to suffer as a result of Defendant’s unlawful conduct;

       f.      awarding compensatory damages to Plaintiff for past and future emotional upset,

               mental anguish, humiliation, loss of life’s pleasures, and pain and suffering;

       g.      awarding liquidated damages to Plaintiff;

       h.      awarding punitive damages to Plaintiff;

       i.      awarding Plaintiff the costs of this action, together with reasonable attorney’s fees;




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      j.    awarding Plaintiffs such other damages as are appropriate under the ADEA and

            NJLAD; and,

      k.    granting such other and further relief as this Court deems appropriate.



                                          CONSOLE MATTIACCI LAW, LLC



      Dated: May 26, 2021         BY:     ____________________________
                                          Daniel S. Orlow, Esq.
                                          110 Marter Avenue, Suite 502
                                          Moorestown, NJ 08057
                                          Attorneys for Plaintiff, George Levy




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                         Exhibit “A”
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                            CHARGE OF DISCRIMINATION                                             AGENCY                   CHARGE NUMBER
                                                                                                 Q FEPA
This form is affected by the Privacy Act of 1974; See privacy statement before                   X EEOC
consolidating this form.
STATE OR LOCAL AGENCY:
NAME (Indicate Mr., Ms., Mrs.)                                                   HOME TELEPHONE NUMBER (Include Area Code)
George R. Levy
STREET ADDRESS                                          CITY, STATE AND ZIP                                      DATE OF BIRTH
                                                        Aberdeen, NJ 07747
NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP, COMMITTEE,
STATE OF LOCAL GOVERNMENT WHO DISCRIMINATED AGAINST ME (If more than one than list below)
NAME                                                          NUMBER OF EMPLOYEES,                     TELEPHONE (Include Area Code)
AT&T, Inc.                                                    MEMBERS                                  (210) 821-4105
AT&T Services, Inc.                                           >200,000
STREET ADDRESS                                                 CITY, STATE AND ZIP                              COUNTY
Charging Party’s Work Locations
One AT&T Way                                                  Bedminster, NJ 07921                              Somerset, NJ
AT&T Corporate Headquarters                                                                                     Dallas, TX
208 S. Akard Street                                           Dallas, TX 75202
CAUSE OF DISCRIMINATION (Check appropriate box(es))                                           DATE DISCRIMINATION TOOK PLACE
Q Race Q Color Q Sex Q Religion      Q National Origin                                        Earliest                    Latest
  Q Retaliation X Age Q Disability Q Other (Specify)                                                   07-24-20 (ongoing)
The Particulars Are:

A.           1.        Relevant Work History

I was employed by AT&T, Inc. and its controlled subsidiary/payroll company, AT&T Services, Inc. (together, “AT&T”),
from November 16, 1998 until the date of my unlawful termination of employment, effective July 24, 2020.

At the time of my termination, I held the position of Lead Channel Manager. I last reported to Scott Corbin II (45 1),
Associate Director, Marketing Technology. I began reporting to Corbin in or about April 2020. Corbin reported to
Aarthi Reddy (48), Assistant Vice President, Market Research and Analysis. Reddy reported to Pam Abel, Vice
President, Distribution, Compensation and Analytics (52). Prior to reporting to Corbin, I had reported to Reddy and Al
Jones, Director (58).

At the time of my surplus notification, I was age sixty-three (63) with more than twenty-one (21) years of service at
AT&T. To my knowledge, I was one (1) of two (2) employees reporting to Corbin who was notified of surplus and
terminated.

I want this charge filed with both the EEOC and the State or local Agency, if        NOTARY - (when necessary for State and Local Requirements)
any. I will advise the agencies if I change my address or phone number and I         ______________________________________________________
will cooperate fully with them in the processing of my charge in accordance          I swear or affirm that I have read the above charge and that it is true
with their procedures.                                                               to the best of my knowledge, information and belief.
I declare under penalty of perjury that the foregoing is true and correct.
                                                                                     SIGNATURE OF COMPLAINANT

__________            ____________________________________________
                                                                                     SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Date                  Charging Party Signature
                                                                                     (month, day, year)




        1
            All ages herein are approximations.
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2.    Harm Summary

      I believe that AT&T discriminated against me because of my age (63) as part of a centrally
      planned, corporate-wide (i.e., AT&T, Inc. and the many subsidiary entities under its direction and
      control, self-identified as the AT&T “family of companies”) involuntary group termination
      program, implemented in waves from at least March 1, 2013 and still continuing, intended to
      “transform” an aging workforce, and which intended to, and did, eliminate older workers and
      replace them with younger ones, while falsely and fraudulently telling the older workers that they
      had released claims under the Age Discrimination in Employment Act (“ADEA”) when AT&T
      knew that they had not.

B.    Statutes Violated and Basis for Allegations

      I allege that Respondents have discriminated against me based on my age in violation of the Age
      Discrimination in Employment Act, as amended, 29 U.S.C. § 621, et seq. (“ADEA”), the Older
      Workers Benefit Protection Act, 29 U.S.C. § 626(f) (“OWBPA”), and the New Jersey Law
      Against Discrimination, as amended, N.J.S.A. § 10:5-1, et seq. ("NJLAD"), as set forth herein.

      Evidence of discrimination includes, but is not limited to (in addition to what is set forth herein):

          1) I was a highly qualified and dedicated employee for AT&T for more than twenty-one
             (21) years. My extensive knowledge, skills, experience, and record of achievement as a
             successful employee were recognized by AT&T. Among other things, I received annual
             merit increases, performance-based bonuses, awards, and positive annual performance
             reviews.

          2) In or about February 2020, in a phone call with Jones, he asked me how old I was. I
             responded that I was sixty-two (62).

          3) Multiple employees at AT&T asked me how old I was.

          4) I was not given the support and resources that younger employees were given to do my
             job, despite my workload having been increased.

          5) In or about March 2020, I was instructed to train younger employees, including Edgar
             Reyes (35), Specialist Sales Support, and Mayra Ruiz (38), Specialist Sales Support, on
             my job duties and responsibilities.

          6) On or about July 1, 2020, Imshaan Somani (35), Lead Marketing Technology Manager,
             was transferred to report to Corbin.

          7) On July 7, 8, and 9, Corbin instructed me to train Somani (35) to do my job duties and
             responsibilities.

          8) On July 10, 2020, AT&T notified me that the position that I held was being eliminated,
             that I was being placed on “surplus status,” and that my employment would be terminated
             within two (2) weeks. I was told that I should not bother looking for an internal position,
             as there were no open positions. Corbin told me he did not know the reason I was
             selected for surplus, and that the decision had been made at a higher level at AT&T.

          9) I was to remain employed until July 24, 2020, at which time my employment was to be
             terminated if I had not been selected by AT&T for, and accepted, another position at
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             AT&T.

         10) The statement that my position was being eliminated was false.

         11) On July 10, 2020, AT&T also presented to me a “General Release and Waiver” which, if
             signed, fraudulently purported to release all claims against AT&T, including federal age
             discrimination claims with respect to my employment and (likely future) termination of
             employment. The General Release and Waiver was simultaneously accompanied by an
             “ADEA Listing” dated July 7, 2020 which, among other things, provided no information
             as to the identity of individuals actually terminated by AT&T.

         12) On July 10, 2020, AT&T presented me with a purported General Release and Waiver and
             accompanying “ADEA Listing.” Among other things, and without limitation:

                 a) The General Release and Waiver and its accompanying materials purport to
                    specify criteria but in fact provide no meaningful information as to the criteria
                    used for selecting employees for surplus notification. The General Release and
                    Waiver and its accompanying materials stated the following with regard to the
                    criteria used for selecting employees for surplus notification: “The considerations
                    when designating eligible employees for company initiated involuntary
                    termination and participation in the AT&T Inc. Severance Pay Plan include some
                    or all of the following: business needs, criticality of skills, job performance, role
                    elimination, geographic location, and/or employee preference for displacement
                    (‘interest in leaving’).”

                 b) The General Release and Waiver and its accompanying materials provided no
                    information explaining the specific reason(s) for my selection for surplus
                    notification.

                 c) The General Release and Waiver stated falsely that I was provided with the ages
                    and job titles of those designated to participate in the Severance Plan. In fact, as
                    of that date, no one identified on the ADEA Listing was eligible for the
                    Severance Plan.

                 d) The information provided in the “ADEA Listing” was for a “Decisional Unit”
                    identified as: “The following positions in VP Pam Abel’s Sales Ops and
                    Compensation organization Director Sales Operations Sales Planning Manager II
                    positions within AVP Aarthi Reddy and Sr. Sales Planning Mgr Michael
                    Mahan’s organizations L2 positions that support sales compensation reporting
                    processes within AVP Aarthi Reddy’s organization.” There was no information
                    provided as to how this Decisional Unit was determined.

                 e) The ADEA Listing purports to but in fact does not provide meaningful
                    information.

                 f) The ADEA Listing does not indicate who among the employees was terminated.

                 g) AT&T failed to provide required information and disclosures under the OWBPA.

         13) The average age of the Lead Channel Manager employees included in the Decisional
             Unit was 42. The average age of the Lead Channel Manager employees in the Decisional
             Unit selected for surplus was 47.5.
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         14) Per the ADEA Listing, there were five (5) employees who held Lead Channel Manager
             positions in the Decisional Unit, two (2) of whom, including me, were selected for
             surplus. The Lead Channel Manager employees selected for surplus were ages sixty-
             three (63) and thirty-two (32). I was the oldest Lead Channel Manager employee in the
             Decisional Unit. There were two (2) Lead Channel Manager employees younger than
             age forty (40) in the Decisional Unit, ages twenty-six (26) and thirty-one (31), each of
             whom was not selected for surplus and was retained by AT&T.

                 a) Based on, inter alia, my knowledge, skills, and positive track record with AT&T,
                    including in particular as a Lead Channel Manager, I believe I was at least as, or
                    better, qualified than substantially younger employees who held that position,
                    were not selected for surplus, and were retained by AT&T.

         15) AT&T failed to include correct information regarding certain employees on the ADEA
             Listing.

                 a) The ADEA Listing that I received should have, and did not, show that Mary Orns
                    (32), Lead Channel Manager, who was selected for surplus, was transferred to
                    another position, was not terminated, and was retained by AT&T.

                 b) The ADEA Listing that I received should have, and did not, include Imshaan
                    Somani (35), Lead Marketing Technology Manager, a substantially younger
                    employee who was not selected for surplus and was retained by AT&T.

                 c) The ADEA Listing that I received should have, and did not, include Mark
                    Pursley (52), Lead Marketing Manager, a substantially younger employee who
                    was not selected for surplus and was retained by AT&T.

         16) AT&T retained several younger employees reporting to Corbin who held positions for
             which I was more qualified. Based on, inter alia, my knowledge, skills, and positive
             track record with AT&T, including in particular my eleven (11) years as a Lead Channel
             Manager and Senior Marketing Manager employee, I believe I was better qualified than
             these younger individuals who were retained. Without limitation:

                 a) When I was surplussed, AT&T retained the following substantially younger
                    employees, without limitation, in positions for which I was qualified, if not more
                    qualified, reporting to Corbin:

                          i.   Levry Severino (31), Lead Channel Manager;
                         ii.   Mary Orns (32), Lead Channel Manager;
                        iii.   Imshaan Somani (35), Lead Marketing Technology Manager;
                        iv.    Elaine Arundell (48), Principal, Business Management;
                         v.    Mark Pursley (52), Lead Marketing Manager.

         17) After July 10, 2020, AT&T did not select me for any open and available positions with
             AT&T for which I was qualified, and I received no response to my email asking if there
             were any opportunities to rejoin the team.

         18) On July 24, 2020, AT&T terminated my employment.

         19) AT&T replaced me with Somani (35). I was more qualified and experienced to perform
             my job duties and responsibilities than the substantially younger employee to whom they
             were assigned.
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         20) AT&T retained several younger Lead Channel Manager employees. Based on, inter alia,
             my knowledge, skills, and positive track record with AT&T, including in particular my
             more than eleven (11) as a Lead Channel Manager and Senior Marketing Manager
             employee, I believe I was better qualified than younger individuals who were retained.
             Without limitation:

                 a) When I was terminated, AT&T retained the following younger employees,
                    without limitation, in the Lead Channel Manager position, reporting to Corbin:

                          i.    Jay Miller (26);
                         ii.    Levry Severino (31);
                        iii.    Mary Orns (32);
                        iv.     John Keeney (58).

                 b) When I was terminated, AT&T retained the following younger employees,
                    without limitation, in the Lead Channel Manager position, under Abel:

                           i.   Jay Miller (25);
                          ii.   Meredith Johnson (30);
                        iii.    Levry Severino (31);
                         iv.    Mary Orns (32);
                          v.    Jake Feigeles (35);
                         vi.    Thomas McDonald (35);
                        vii.    Lauren Knish (40);
                       viii.    Jeffrey Sly (45);
                         ix.    Vanessa Shane (52);
                          x.    John Keeney (58).

         21) I was the oldest employee reporting to Corbin.

         22) I was the only Lead Channel Manager in the Decisional Unit who was terminated
             effective July 24, 2020.

         23) I was one (1) of two (2) employees reporting to Corbin who was terminated.

         24) The other employee reporting to Corbin who was surplussed and terminated was
             Adrienne Bresnahan (60), Senior Data Analysis.

         25) My termination date of July 24, 2020 was the commencement of the ninety (90) day
             period for me to consider the General Release and Waiver. AT&T provided me at that
             time no disclosures required for an involuntary group termination pursuant to the Older
             Workers Benefit Protection Act (“OWBPA”).

         26) As of the termination of my employment on July 24, 2020, I was instructed to consider
             signing the General Release and Waiver in exchange for a severance payment.

                 a) AT&T never provided me with the disclosures required by the OWBPA.

                 b) AT&T never provided me with information indicating that it was the job titles
                    and ages of those who had actually been terminated from employment.

                 c) The “ADEA Listing” that was given to me on July 10, 2020, which was dated
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                     July 7, 2020, was not given to me at the commencement of the General Release
                     and Waiver consideration period as explicitly required by the OWBPA.

                 d) AT&T failed to provide to me in a manner calculated to be understood by the
                    average individual eligible to participate in the Severance Pay Plan program the
                    disclosures required for a knowing and voluntary waiver of my claims and rights
                    under the ADEA, including my right to bring an age discrimination suit against
                    them and to initiate and/or participate in a collective and/or representative action.

         27) I refused to sign the General Release and Waiver. The purported waiver of my claims
             and right to bring and/or participate in a collective and/or representative action under the
             ADEA was invalid, unenforceable, and in violation of the ADEA, as amended by the
             OWBPA.

         28) My performance was positive and did not warrant my selection for surplus, the fact that I
             was not selected for open positions for which I was qualified, or the termination of my
             employment.

         29) Upon information and belief, AT&T’s “2020” group involuntary termination program,
             including its centrally determined policies and procedures, had a disparate impact on
             older workers.

         30) AT&T has demonstrated an intent to terminate the employment of older workers,
             including me, and retain younger workers instead.

         31) AT&T fraudulently instructed me and other older workers to consider signing a General
             Release and Waiver that they knew to be in invalid, unenforceable, and in violation of the
             OWBPA.

         32) On January 11, 2019, a federal judge in the Eastern District of Pennsylvania ruled that
             AT&T’s General Release and Waiver was invalid and unenforceable for failure to
             comply with the ADEA, as amended by the OWBPA.

         33) Despite the federal judge’s ruling, AT&T continued to use the same General Release and
             Waiver that was found to be invalid and unenforceable for failure to comply with the
             ADEA, as amended by the OWBPA.

         34) AT&T has a corporate culture of age bias and a public record of egregious age
             discrimination.

                 a) AT&T’s Chief Executive Officer, Randall Stephenson, has publicly discussed
                    that AT&T has an aging workforce and had a need to reinvent the company. See
                    Gearing Up for the Cloud, AT&T Tells Its Workers: Adapt or Else,
                    http://www.nytimes.com, February 13, 2016. As part of this reinvention, AT&T
                    came up with a plan to “retool” its aging workforce by the year 2020. Id.

                 b) As part of its plan – variously called “Vision 2020,” “Workforce 2020;”
                    “Workplace 2020” – AT&T has publicly expressed age-based stereotypes and
                    has acknowledged that those age-based stereotypes are considered in workplace
                    decisions. See, e.g., AT&T Prepares for a New World of Work: The Changing
                    Work Force (Part 2), https://networkingexchangeblog.att.com/enterprise-
                    business (dividing its workforce by age, characterizing “Baby Boomers” as the
                    workforce of “Yesterday,” expressing without stated basis what is important to
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                     “Baby Boomers” as distinct from “Gen X” and “Gen Y” workers, explicitly
                     stating that AT&T is taking these age-based stereotypical “factors into account
                     when planning for our workplace of the future,” and stating that by 2015, 90% of
                     new hires will be from Gen X and Gen Y).

         35) Upon information and belief, since at least March 1, 2013, and continuing until the
             present, AT&T has, as part of its plan to transform its workforce, conducted vast
             involuntary terminations (referred to herein as “2020” terminations) with the intent and
             effect of eliminating older workers from its workforce. The massive and company-wide
             involuntary terminations were effectuated in waves across AT&T, Inc.’s various
             controlled/for payroll-purposes subsidiaries and in accordance with centrally planned,
             from the top, corporate-wide policies and procedures infected with age bias and, upon
             information and belief, causing a disparate impact on older workers.

                 a) Upon information and belief, as part of the “2020” terminations, AT&T, per its
                    policies and procedures, notified certain workers that they were being placed on
                    surplus status and would be terminated if unable to secure another position with
                    AT&T within two (2) weeks. Employees were selected for surplus based on
                    centrally determined, company-wide ill-defined and/or subjective criteria in a
                    process infected with age bias. Without limitation, employees were assigned a
                    rating for “skills,” but the “skills” supposedly assessed were not those necessary
                    to perform an actual job but a job of the “future” per “Vision 2020,” thus
                    permitting managers to assign ratings based on the ageist stereotype that older
                    workers could not or would not acquire “high tech” skills necessary for these
                    future jobs.

                 b) The process by which certain employees on surplus status were able to secure
                    another job within AT&T was infected with age bias. Among other things, the
                    centrally determined, company-wide surplus policies and procedures specifically
                    provided that managers could at their complete discretion notify certain – but not
                    all – employees on surplus status of job openings by sending to them a Career
                    Opportunity Notice (“CON”), thus permitting managers to act on unchecked age-
                    bias and notify younger workers only of open positions. Moreover, per AT&T
                    policies and procedures, it was automatically made known to a hiring manager
                    when an application was received for an open job if the application was
                    submitted by an employee whom AT&T had selected for surplus status, thus
                    tainting that employee’s application prospects.

                 c) If an employee has not secured a position at the end of the two (2) week period,
                    an employee who had been placed on surplus status was terminated by AT&T.
                    AT&T offered such terminated employees severance in exchange for signing
                    what purported to be a general release of all claims (including their right to bring
                    suit, and/or participate in a collective/representative action under the ADEA).
                    AT&T knew that what it falsely told the older workers was a general release of
                    all claims was not a release and waiver of an older worker’s right to bring and/or
                    participate in an individual and/or collective action alleging age discrimination
                    under the ADEA because the General Release and Waiver did not comply with
                    the disclosure requirements of the OWBPA. Without limitation, AT&T
                    provided to the older workers no information as to who was actually being
                    terminated and who was being retained.

                 d) AT&T affirmatively represented to the older, terminated workers that it had
                    provided to them at the time of the surplus notification the ages and job titles of
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                      those “designated to participate in the Plan.” This was patently false. The Plan
                      referenced was the AT&T, Inc. Severance Pay Plan; to be eligible to participate
                      in it, among other things, one had to have been terminated from employment.
                      The list provided did not identify anyone who had actually been terminated. In
                      fact, some employees who had been placed on surplus status and listed on the
                      ADEA Listing were able to find other positions at AT&T within the two (2)
                      week period. Thus, AT&T fraudulently induced older workers to release
                      rights pertaining to their termination, while hiding from those older workers
                      information as to the ages of who was terminated and who was retained.

                  e) Upon information and belief, AT&T has for years, and at least since March 1,
                     2013, and continuing through the present, carried out in waves its “2020”
                     terminations with the intent and effect of terminating older workers from its
                     workforce, while retaining and hiring younger ones. AT&T has intentionally
                     kept the older workers in the dark about the scope of its terminations and
                     selection procedures, and has engaged in a massive fraud whereby older workers
                     were deceived as to the information they were receiving regarding who was
                     terminated and who was retained, and falsely led the older workers to believe that
                     they had waived their right to bring an action against AT&T for age
                     discrimination.

          36) Since at least 2013 until the time of my termination, AT&T has actively recruited outside
              hires.

          37) I was notified by AT&T that I was placed on surplus status, terminated, and presented
              with a fraudulent General Release and Waiver as part of AT&T’s “2020” terminations.

          38) AT&T selected me for surplus, failed to select me for any open and available jobs for
              which I was qualified, terminated my employment, and presented me with a false and
              fraudulent General Release and Waiver because of my age.

C.    Respondents’ Stated Reasons

      AT&T has stated that I was placed on surplus status because my position was being eliminated.
      This is false and a pretext for age discrimination. Following the surplus, according to AT&T’s
      own documents, there remained at least three (3) Lead Channel Manager employees in my
      “Decision Unit,” all of whom were younger than me. Further, there remained several Lead
      Channel Managers, including at least three (3) who reported to Corbin, and at least an additional
      two (2) employees reporting to Corbin who performed functions similar to what I performed who
      held different job titles.

      AT&T has not stated a reason why AT&T failed to select me for any open and available positions
      for which I was qualified.

      AT&T has stated that I was to be terminated if I was unable to secure another position within two
      (2) week of my being placed on surplus status. AT&T gave a false and pretextual reason for my
      selection for surplus; AT&T has given no reason for its failure to select me for any one of the
      open positions for which I was qualified.

      AT&T has not stated any reason for its fraudulent representation to me that by signing the
      General Release and Waiver I would release and waive my claims and rights under the ADEA,
      including my right to bring and/or participate in a collective and/or representative action, when
      AT&T knew that they had presented me with a General Release and Waiver that was invalid,
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      unenforceable, and in violation of the OWBPA.

D.    Class Charge

      I allege that AT&T has engaged in a pattern and practice of discriminating against older workers
      in violation of the ADEA. In that regard, I bring this Charge as a class and pattern and practice
      Charge on behalf of myself and any and all current or former employees, age forty (40) and over
      who have been adversely affected by AT&T’s discriminatory practices (as a result of disparate
      treatment or disparate impact) in connection with its company-wide group terminations,
      implemented in waves pursuant to the same centrally determined and corporate-wide policies and
      procedures, since at least March 1, 2013 and continuing through the present, including but not
      limited to being placed on surplus status; being denied opportunities to secure or being rejected
      for open positions; and/or being terminated.

      I further allege that AT&T has violated the ADEA, as amended by the OWBPA, and that the
      language, terms, and manner of presentation of AT&T’s General Release and Waiver agreements
      utilized during the company-wide involuntary group terminations since at least March 1, 2013
      and continuing through the present, is part of a pattern and practice to adversely treat and
      disparately impact me and similarly situated employees age forty (40) and over, and was a
      scheme in violation of the ADEA and OWBPA with the intention of deceiving me and other older
      workers into believing that we could not sign the General Release and Waiver, collect severance,
      and bring an age discrimination case against AT&T. In that regard, I bring this Charge as a class
      Charge on behalf of those individuals age forty (40) and over whom AT&T terminated as part of
      the involuntary group terminations since at least March 1, 2013, and continuing through the
      present, who were presented with a General Release and Waiver which purported to be a general
      release of all claims, including for age discrimination under federal law and the right to bring
      and/or participate in a collective and/or representative action under the ADEA, but which failed
      to comply with the OWBPA.
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                         Exhibit “B”
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EEOC Form 161 (11/2020)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    George R. Levy                                                                 From:     Philadelphia District Office
       Console Law Offices LLC                                                                  801 Market Street
       1525 Locust Street, 9th Floor                                                            Suite 1000
       Philadelphia, PA 19102                                                                   Philadelphia, PA 19107


                            On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                 EEOC Representative                                                    Telephone No.


530-2020-05481                                  Legal Unit                                                             (267) 589-9707
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       X         The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                 determination about whether further investigation would establish violations of the statute. This does not mean the claims
                 have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                 makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.
                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                 Other (briefly state)

                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On behalf of the Commission

                                                                                                                     March 3, 2021
Enclosures(s)
                                                                 Jamie R. Williamson,                                          (Date Issued)
                                                                   District Director
cc:
           Marybeth Dunne                                                            Emily R. Derstine Friesen, Esq.
           AT&T Sr. EEO Consultant                                                   CONSOLE MATTIACCI LAW, LLC
           AT&T SERVICES                                                             1525 Locust Street, 9th Floor
           308 S AKARD ST                                                            Philadelphia, PA 19102
           RM 1720
           Dallas, TX 75202
